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                          UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF ILLINOIS
                      ☐ Benton           ☒ East St. Louis

    ☒ Initial Appearance           ☒ Arraignment                   ☒ Change of Plea

CRIMINAL NO.: 21-CR-30023-SPM               DATE:   March 22, 2021
U.S.A. vs. KEVIN HUTCHINSON                     JUDGE:   Stephen P. McGlynn
    ☒ Present ☐ Custody ☐ Bond                       DEPUTY: Jackie Muckensturm
DEFT. COUNSEL: Clyde L. Kuehn                        REPORTER: Hannah Jagler
      ☒ Present ☐ Apptd. ☒ Retained ☐ Waived
GOVT. COUNSEL: Norman R. Smith          TIME:              10:40 AM – 11:15 AM
U.S. PROBATION OFFICER: Brenda Tate


☒      Defendant appears in open court with retained counsel and is sworn.
☒      Defendant waives reading of Indictment.
☒      Defendant advised of constitutional rights.
☒      Defendant advised of charges and penalties.
☒      Plea: ☒ GUILTY as to Count 1 of the INDICTMENT
             ☐ Not Guilty as to Count(s)
             ☐ Nolo Contendere as to Count(s)
☒      ☐     No Plea Agreement         ☒ Plea Agreement          ☐ Oral    ☒ Written
☒      Court accepts plea of guilty.
☒      Matter referred to U.S. Probation for pre-sentence investigation and report.
☒      Order for Presentence Procedure to be issued and filed.
☒      Sentencing is set for June 28, 2021 at 9:30 AM before Judge Stephen P. McGlynn
       in East St. Louis, IL.
☒      Defendant released on personal recognizance bond.
☒      Defendant advised on penalties for failure to appear.
